Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 1 of 82




          EXHIBIT 102
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 2 of 82



                            UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                 Case No. 16-md-02741-VC
LIABILITY LITIGATION
                                        MDL No. 2741



This document relates to:

ALL ACTIONS




              EXPERT REPORT OF DR. CHRISTOPHER D. CORCORAN, Sc.D.
            Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 3 of 82



 1     EVALUATION OF GLYPHOSATE EXPOSURE AND CANCER RISK IN RATS AND MICE
 2                                     Dr. Chris Corcoran
 3                                     Department of Mathematics and Statistics
 4                                     Utah State University, Logan, UT
 5
 6   I. SUMMARY
 7   This report examines the rodent studies of glyphosate and cancer risk, particularly the seven feeding
 8   experiments using rats and five using mice that were reviewed in the expert report prepared by Dr. Chris
 9   Portier. The overarching question is whether these animal experiments provide a scientific basis to opine
10   that glyphosate causes cancer in rats and mice. A few critical characteristics of these studies require
11   careful consideration in addressing this question. Most crucially, the hundreds of individual tumor types
12   evaluated within each experiment across both male and female rodents make it virtually certain that
13   apparent “statistically significant” results will be observed for individual tumors that are in fact due to
14   nothing more than chance. This necessitates the use of common statistical methods that account for
15   multiple tests applied repeatedly to the same data. In addition, most of the tumor types are relatively
16   uncommon, which warrants additional prudence in choosing appropriate statistical methods. In this
17   report, I outline these issues, discussing in Section III how they are managed in everyday statistical
18   practice. In Section IV, I apply the appropriate methods to the glyphosate rodent data and find no
19   evidence whatsoever of a glyphosate effect on the risk any of the tumors evaluated across these studies
20   after accounting for multiple tests. In Section V, I consider the discussion and results in Sections III and
21   IV in the context of Dr. Portier’s expert report. Dr. Portier suggests that the glyphosate experiments do
22   provide some evidence of tumor risk among rodents. However, his statistical approaches are deeply
23   flawed, leading him to overstate his findings and seriously misrepresent the data in aggregate. These
24   flaws would prove fatal in any peer review. Most significantly, the results from the animal experiments
25   that were highlighted by Dr. Portier were handpicked because of their “statistical significance”, without
26   appropriately accounting for the large number of tests for other tumors that demonstrated no evidence of a
27   glyphosate effect. In addition, Dr. Portier violated conventional statistical practice in his use of historical
28   controls and in combining or “pooling” data from across several sources – using experiments carried out
29   during different years and in different laboratories under different conditions – without appropriately
30   accounting for these studies’ unique characteristics. In Section V we illustrate these flaws and their
31   impact on Dr. Portier’s conclusions.
32
33   II. RESUME AND QUALIFICATIONS
34   I am a professor of Statistics, and head of the Department of Mathematics and Statistics at Utah State
35   University (USU) in Logan, Utah. I joined the faculty as an Assistant Professor at USU in 1999, after

                                                      Page 1 of 47
             Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 4 of 82



 1   receiving a B.S. in Statistics from USU in 1995 and a doctorate in Biostatistics from Harvard University
 2   in 1999. I was tenured and promoted to the rank of Associate Professor in 2005, and then promoted to the
 3   rank of Professor in 2011.
 4       My research interests as a biostatistician focus largely on statistical methods for categorical data
 5   analysis, including the analysis of proportions and counts. My dissertation and much of my subsequent
 6   work has focused particularly on so-called exact methods for categorical data, developing software tools
 7   for researchers that allow them to analyze proportions and counts using exact tests for previously
 8   unaddressed study designs, including settings in which data are clustered or correlated (e.g., gestational or
 9   developmental toxicology studies using rats or mice), or for large-scale studies of genetics and disease.
10   Much of this work has been funded by the National Institutes of Health, and implemented in the software
11   packages StatXact and LogXact through Cytel Software Corporation (Cambridge, MA). These packages
12   have long been considered the industry standard for exact statistical analysis.
13       I have also served as a senior biostatistician for a number of large interdisciplinary research projects
14   focused on the epidemiology and genetic causes of complex disease, including Alzheimer’s disease,
15   cognitive decline among the elderly, hip fracture, autism, birth defects, and cancer. I have advised
16   collaborators about study design, data management, and data analyses and the appropriate application of
17   statistical methods, and I have either led or assisted with numerous manuscripts and presentations to
18   disseminate research results. This work has likewise largely been funded by the NIH. In all, the collective
19   extramural funding for these efforts has exceeded $25 million.
20       I have been asked examine data from the rodent glyphosate feeding experiments, and to assess any
21   evidence of potential compound-related effects on the incidence of mouse and rat tumors, and have been
22   compensated for this work at a rate of $250/hour. Unless otherwise stated, all of my opinions are
23   expressed to a reasonable degree of scientific certainty. I reserve the right to amend or supplement my
24   report in response to any rebuttal by plaintiffs’ experts or as new information becomes available. I have
25   not testified as an expert witness over the past 4 years. My curriculum vita is included as an attachment to
26   this report.
27
28   III. STATISTICAL BACKGROUND
29   The fields of health and medicine abound with questions that likewise often appear straightforward: What
30   is the best diet for a healthy heart? Are men or women at higher risk for a particular disease? Does a new
31   drug lengthen life for cancer patients? In collaboration with other scientists, a biostatistician’s role is to
32   design experiments that address these questions, and to contribute to the analysis of the resulting
33   experimental outcomes or data. Proper statistical methodology has assumed an increasingly important
34   role in health and medicine as research has become more evidence-based. This is largely because (1) data

                                                       Page 2 of 47
            Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 5 of 82



 1   are generally full of uncertainty and variation, particularly when we study complex diseases or other
 2   phenomena in humans or animals; (2) many questions in health and medicine have strong statistical
 3   overtones (e.g., How common is a disease? Who is most likely to contract it?); and (3) the comparison of
 4   different treatments or potential risks relies heavily on statistical concepts – especially probability – in
 5   both designing and analyzing experiments.
 6      As an example, suppose we pose the simple question: Does a flu vaccine work? This could be
 7   answered in part by considering a study of people who are randomly assigned to two groups, one
 8   receiving the treatment and the other some sort of placebo. At the study’s end, the flu rates between the
 9   groups would be compared to assess whether the treated subjects experienced less flu than those on
10   placebo. To continue the illustration, suppose such a study was designed with 20 patients in treatment and
11   20 in control (i.e., given placebo). Suppose further that we subsequently observe 0 flu cases (a 0% flu
12   rate) among those who are treated and 20 cases (a 100% flu rate) among controls. With such a dramatic
13   difference between the respective flu rates, common sense and intuition would strongly suggest that the
14   treatment prevents flu.
15       On the other hand, suppose that this experiment alternatively results in 5 flu cases within the
16   treatment group versus 10 in control (25% flu rate for treatment versus 50% for control). While the
17   observed flu rate in this scenario is likewise lower within the treatment group, we are clearly less certain
18   about declaring that the treatment works more generally. Why? Because it is more difficult to discern
19   whether this result demonstrates an advantage for treatment, or if it could be simply due to chance
20   variation between the people participating in the study. In other words, assuming that the vaccine does not
21   work at all, we would expect that the observed flu rates within the two groups would differ by chance,
22   much as we would expect that the number of heads we observe with 20 flips of a coin would be different
23   than the number we observe if we flipped the same coin an additional 20 times.
24      How can we quantify the possibility that an experimental result is due simply to chance? The role of
25   probability and statistics is especially critical in providing insight into this question. Common scientific
26   and statistical practice involves designing an experiment with two competing hypotheses in mind. For a
27   study comparing different treatments or groups, the primary hypothesis – generally referred to as the null
28   hypothesis – is that there is no difference between the groups. The competing or alternative hypothesis is
29   that there is a difference between the groups. At the end of the experiment, a probability is computed that
30   measures the evidence against the null hypothesis. This probability, called a p-value, represents the
31   likelihood of having observed the experimental result or data given that the null hypothesis is true. A
32   relatively smaller p-value therefore indicates that there is evidence against the null hypothesis, since it
33   tells us that the data are unlikely, assuming that the null is correct. On the other hand, a relatively larger p-



                                                      Page 3 of 47
            Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 6 of 82



 1   value provides no evidence against the null. The process of determining hypotheses and computing and
 2   interpreting a p-value based on resulting data is called a hypothesis test.
 3      Two generally crucial issues with regard to testing a given hypothesis are (1) how the p-value is
 4   computed, and (2) how the p-value is used to make a decision about the null hypothesis. With regard to
 5   (1), even for relatively straightforward experiments, such as our hypothetical flu vaccine trial, there may
 6   be multiple approaches available for computing a p-value, each of which has certain advantages or
 7   disadvantages – these characteristics often depend on a specific study setting, and a biostatistician’s role
 8   is to evaluate the strengths and weaknesses of competing methods for any given experiment to ensure that
 9   the data analysis is as accurate and reliable as possible. With regard to (2), the primary question is: How
10   small does a p-value need to be in order to determine that there is sufficient evidence against a null
11   hypothesis? A decision rule generally provides a cutoff against which the p-value is compared. For a
12   single hypothesis test, the scientific community over time has settled on a threshold of 5%, meaning that a
13   p-value less than 5% indicates sufficient evidence against the null, whereas a p-value greater than 5%
14   provides insufficient evidence. This threshold is called a significance level, and p-values below this level
15   are referred to as “statistically significant”. Another important role of a biostatistician is to ensure for any
16   given data analysis that the significance level is preserved. Any violation or inflation of the significance
17   level can result in greater likelihood of spurious conclusions, especially in declaring “significant”
18   treatment effects based on experimental results that are only due to chance.

19   IV.A Interpreting p-values in the presence of many hypothesis tests
20      The “p-value < 0.05” decision rule is relatively straightforward for a single experiment. However, the
21   role of the p-value has become more complicated in today’s data-driven world. The fathomless ocean of
22   available data – generated from billions of dollars spent annually on research in health and medicine, and
23   from the sheer volume of electronic transactions and online activity, among other sources – along with the
24   relative ease of computing software for generating statistical analyses, necessitate some additional
25   prudence in interpreting p-values. Nearly every day, online or other media news sources tout claims about
26   an association between an exposure and an outcome, often with some implication of dramatic or broad
27   consequences for the public. Many of these results often do not hold up under additional scrutiny or
28   attempts at replication. How do these kinds of findings so readily find their way into the scientific
29   literature and popular press? Explanations may sometimes include inadequate study design or poor data,
30   but in our “big data” era the culprit is most often the amount of data available from large studies, or from
31   a large number of smaller studies that are examined simultaneously. The tendency of researchers, along
32   with scientific journals and other media venues, is a bias toward “positive” findings. This has led in turn
33   to an overreliance on p-values and statistical significance, at the frequent expense of context, especially in
34   underreporting or ignoring the large number of additional tests performed resulting in “negative” findings.

                                                      Page 4 of 47
             Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 7 of 82



 1       This issue is relatively straightforward to illustrate, given the application of hypothesis tests and p-
 2   values just described. Researchers can easily draw incorrect conclusions from an analysis of a large data
 3   set when many associations are examined across a large number of hypothesis tests that each look for a p-
 4   value that is less than the conventional 5% significance level. Simply put, when multiple tests are
 5   performed, “p-value < 0.05” outcomes will occur quite often even when there are no real effects. Note
 6   that the p-value < 0.05 rule was developed relative to a single test. However, this logic breaks down when
 7   multiple comparisons or tests are performed within a single analysis. With a 1-in-20 chance of a false
 8   positive for a single test, we would expect to see about one false positive for every 20 tests that we
 9   compute. In fact, it is straightforward to show using basic probability that there is a 64% chance of at least
10   one false positive among 20 independent tests, and a 99.4% chance of at least one false positive among
11   100 tests.
12       This so-called multiple testing issue and the general overreliance on p-values has been discussed and
13   studied extensively within the statistics and epidemiology professions. These issues have likewise been
14   paid some considerable attention over the past several years in the popular media, especially given the
15   many highly publicized findings that create an initial sensation but then fail to hold up under additional
16   study and experimentation. (As just a small sampling of this coverage, within the scientific literature see
17   “Why Most Published Research Findings Are False” by JPA Ioannidis in PLoS One, “Statistical Errors: P
18   values, the ‘gold standard’ of statistical validity, are not as reliable as many scientists assume” by R
19   Nuzzo in Nature, and “Evolution of Reporting P Values in the Biomedical Literature, 1990-2015” by D
20   Chavalarais, JD Wallach, AHT Li, and JPA Ioannidis in JAMA. In the popular press see “Trouble at the
21   lab”, “How science goes wrong”, and “Metaphysicians” in the Economist; “Science Isn’t Broken: It’s just
22   a hell of a lot harder than we give it credit for” at 538.com; “Striking results, little reliability” in the Los
23   Angeles Times; and “New Truths Only One Can See” in the New York Times.)
24       Statisticians have long warned against the practice of computing a multitude of p-values – especially
25   when applying arbitrary criteria to examine the same data in various ways – in order to identify positive
26   associations. More recently, in response to this growing problem and the attention paid to it, our largest
27   and oldest professional organization, the American Statistical Association (ASA), took the unusual step in
28   2015 of producing “The ASA's Statement on p-Values: Context, Process, and Purpose” (The American
29   Statistician), under the direction of a committee comprised of some of our most respected colleagues.
30   Several underlying principles regarding p-values are briefly emphasized in the document. In particular,
31   the committee crystallizes the ongoing issues with multiple testing by noting that
32      P-values and related analyses should not be reported selectively. Conducting multiple analyses of
33      the data and reporting only those with certain p-values (typically those passing a significance
34      threshold) renders the reported p-values essentially uninterpretable. Cherrypicking promising


                                                       Page 5 of 47
             Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 8 of 82




 1      findings, also known by such terms as data dredging, significance chasing, significance questing,
 2      selective inference, and “p-hacking,” leads to a spurious excess of statistically significant results
 3      in the published literature and should be vigorously avoided. One need not formally carry out
 4      multiple statistical tests for this problem to arise: Whenever a researcher chooses what to present
 5      based on statistical results, valid interpretation of those results is severely compromised if the
 6      reader is not informed of the choice and its basis. Researchers should disclose the number of
 7      hypotheses explored during the study, all data collection decisions, all statistical analyses
 8      conducted, and all p-values computed. Valid scientific conclusions based on p-values and related
 9      statistics cannot be drawn without at least knowing how many and which analyses were conducted,
10      and how those analyses (including p-values) were selected for reporting.
11
12   Of course, none of this means that all science is unreliable, or that we should give up on experimentation
13   altogether. The problem is not with research, generally, but with the overuse and misapplication of p-
14   values. The good news is that the same statisticians and scientists who have identified potential problems
15   with p-values have often also developed or proposed constructive and accessible approaches for
16   increasing the reliability of research results. In addition to the basic suggestions about disclosure quoted
17   above from the ASA report, a couple of the most common among the recurring recommendations include
18   (1) the use of multiple test corrections or what we call “false discovery rates” to adjust for a large number
19   of hypothesis tests; and (2) the reporting of actual effect sizes (in addition to p-values), along with
20   measures of uncertainty about the effect size.
21      With regard to (1), how does a biostatistician make sure that p-values < 0.05 for an analysis involving
22   many tests are not merely due to chance? This is generally accomplished by first assessing the number of
23   tests that need to be carried out, and then by computing the individual p-values using a method that
24   accounts for the number of tests. This kind of multiple testing method will yield a set of p-values that can
25   then be individually compared to the 0.05 testing level to identify truly significant findings. Such multiple
26   testing methods are readily available in any one of the most widely-used statistical analysis software
27   packages, and are illustrated in the large number of dedicated multiple testing textbooks and manuals.
28   These methods are taught as a matter of course within many university statistics curricula. In particular,
29   so-called stepwise or closed testing procedures can be readily applied to a set of many p-values computed
30   in a given analysis, adjusting the p-values to preserve the false positive rate not only for the individual
31   tests but for any combination or subset of null hypotheses under consideration. While several options are
32   available, the so-called False Discovery Rate (FDR) approach has been increasingly recommended and
33   used in statistical practice.

34   IV. ASSESSING THE GLYPHOSATE FEEDING EXPERIMENTS
35   Section III broadly outlined some of the crucial statistical issues that are highly relevant to the rodent
36   glyphosate feeding experiments and to the analysis provided in Dr. Portier’s expert report. Most

                                                      Page 6 of 47
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 9 of 82
           Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 10 of 82



 1   specific tumor types. These studies are summarized in Tables 1 and 2 (the totals given in these tables
 2   exclude cases where proportionally few mice or rats were apparently evaluated for a given tumor type, as
 3   the limited number of animals evaluated may reduce the interpretive value of the results to such a degree
 4   as no conclusions may be drawn). There are two critical questions to address in evaluating the collective
 5   evidence of a possible glyphosate effect on tumors among rodents. First, how do we evaluate the dose-
 6   response effect of glyphosate on a single tumor type? Second, how do we account for many dose-
 7   response analyses across multiple tumor types?
 8       In answer to question 1, the most commonly used tool for assessing a dose-response effect is the
 9   Cochran-Armitage trend test. In the context of the rodent feeding experiments, this approach provides a p-
10   value to test the null hypothesis of no dose effect on tumor rate versus the alternative hypothesis that the
11   tumor rate increases with increasing dose. This trend test is generally applicable to any experimental data
12   where subjects are randomized to increasing doses of some drug or other intervention, and then observed
13   to experience (on average) an increasing or decreasing percentage of subjects who experience the
14   outcome of interest. As with much of the analysis provided by Dr. Portier, these results are based on a
15   one-sided exact trend test – “one-sided” in that we are testing the trend in only one direction for a given
16   tumor, and “exact” in that we are using the actual probability distribution under the null hypothesis,
17   instead of a normal or bell-curve approximation (also called the “approximate” or “asymptotic” trend
18   test). The exact test is recommended when outcomes of interest are not common, which is often the case
19   across the glyphosate experiments.
20       What motivates this recommendation, and why does it matter whether we use the exact or
21   approximate p-value? While it may seem like a statistical technicality, the choice turns out to be germane
22   to the glyphosate rodent carcinogenicity question. The International Agency for Research on Cancer
23   (IARC) monograph on glyphosate used the approximate p-value to conclude that results from the
24   Knezevich experiment (included in Table 2) implicated glyphosate as a cause of kidney adenomas among
25   male mice, based on their reported approximate trend test p-value of 0.034 (without adjusting for multiple
26   tests). However, the exact one-sided test – subsequently reported by Dr. Portier in other material and
27   ultimately his expert report – yields a p-value of 0.062 for these same data. The discrepancy between the
28   approximate and exact p-values in this case illustrates why the former should be avoided when tumor
29   incidence is low. It turns out that the approximate p-value is an estimate of the actual or exact p-value,
30   and tends to be more accurate when the overall sample size is relatively larger and when relatively more
31   investigative events (in this case, tumors) are observed. In general, approximate p-values tend to
32   underestimate the exact p-values they are supposed to estimate. When sample sizes and numbers of
33   observed outcomes (such as tumors) are relatively large, this underestimation may not be consequential.
34   However, in cases like the glyphosate feeding experiments – where tumors are relatively less common –

                                                     Page 8 of 47
             Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 11 of 82



 1   the inaccuracy of approximate p-values when they are used can lead to a significant increase in the
 2   number of false positives. In other words, because the approximate test tends to underestimate the exact,
 3   we will see more “p-value < 0.05” results with the approximate test when there is actually no dose-
 4   response effect. This can lead to serious exaggeration of the evidence in favor of trend effects.
 5       Given the large relative error of this normal approximation for the Knezevich data, one might wonder
 6   why anyone would ever use it. Normal approximations in applied research had much greater utility before
 7   the widespread availability of powerful computing tools. Without some sort of special calculator or
 8   software, a normal probability is relatively much easier to compute than an exact probability. Even now,
 9   some analyses of counts and proportions rely on more sophisticated statistical models for which the exact
10   distribution is prohibitively difficult to compute, and so some form of normal approximation can still be
11   useful. However, for many experiments – particularly controlled experiments such as the glyphosate
12   mouse studies – exact p-values can be computed instantaneously with a desktop computer, and no
13   approximation is needed, even in cases where the sample sizes and counts are sufficiently large to justify
14   such an approximation.
15      Given appropriate computation of the trend test p-value, the second necessity is accounting for the
16   many dose-response analyses across multiple tumor types. As discussed earlier in Section III, the False
17   Discovery Rate (FDR) approach recommended by Ioannidis and others is particularly useful for these
18   data. It is a less conservative adjustment that is recommended in settings where there are hundreds or even
19   thousands of p-values under consideration. Of all multiple testing options available in this setting, the
20   FDR approach minimizes the chance that we would fail to detect an actual glyphosate-related effect. It
21   should be noted that an FDR adjustment could and should be used for any set of p-values computed to
22   assess potential glyphosate effects on tumor incidence, including any pairwise comparisons made
23   between the tumor rates of two dose groups. Such two-group comparisons are not reported here as Dr.
24   Portier’s conclusions do not appear to rely upon them, but the same multiple testing problem applies, and
25   even more so: in an experiment with four dose groups, respective comparisons of the three treatment
26   groups to control can yield up to three p-values – as opposed to one trend test p-value – for each tumor
27   type.
28      Trend test results for the 7 rat studies are summarized by the tables shown in Appendix A, and results
29   for the 5 mouse studies are similarly summarized in Appendix B. Each table contains exact one-sided p-
30   values for each study, reported by tumor type and sex, testing specifically for evidence of increasing
31   tumor probability. In addition, for those p-values < 0.05 reported and highlighted in Appendix A and
32   Appendix B, a multiple testing FDR adjustment is applied and reported in the table shown in Appendix C.
33      As shown in Tables 1 and 2, of the hundreds of individual tumor types evaluated across all 12
34   experiments, 1,016 were observed in at least one mouse or rat. Among rats, there were 13 trend test p-

                                                     Page 9 of 47
            Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 12 of 82



 1   values < 0.05 when testing for increasing incidence of each tumor, without accounting for the false
 2   discovery rate. Among mice, there were 7 such trend test p-values < 0.05 without accounting for the false
 3   discovery rate. All of these are highlighted in blue for easy identification in the tables contained in
 4   Appendices A and B. Note that – assuming no effect of glyphosate on tumor incidence – we would
 5   conservatively expect about 5% of all individual trend tests to yield p-values < 0.05 only by chance. This
 6   would represent about 51 p-values < 0.05 out of the 1,016 individual cancer types for which at least one
 7   tumor was observed. However, it makes sense to consider those cancer types for which three tumors were
 8   observed. Given the typical study design of four dose groups with approximately 50 animals per dose,
 9   about 3 tumors in total are necessary for an exact one-sided p-value no greater than 0.05. Given 345
10   tumor types across the 12 rodent studies with at least 3 observed tumors (as summarized in Tables 1 and
11   2), assuming no compound effects we would expect roughly 17.3 p-values < 0.05. In other words, given
12   the 20 observed p-values < 0.05, the overall results are entirely consistent what we should observe given
13   no compound-related effect on tumor incidence. This is analogous to flipping a coin 345 times that has a
14   5% probability of heads, and observing 20 heads with an expected number of 17.3. This result is highly
15   likely: there is actually about a 62.5% chance of observing this many independent p-values < 0.05 relative
16   to the expected proportion, given no compound-related effects.
17      In addition, when computing the trend test p-values to account for the false discovery rate, not one of
18   the 1,016 tests is statistically significant. FDR-adjusted p-values for all tumor types with individual trend
19   test p-values < 0.05 are summarized in Appendix C, and not one has a value even marginally close to
20   0.05. (Note that adjusting for multiple tests always increases the p-value, so that there is no need to report
21   FDR adjustments for any individual trend test results with p-values > 0.05.) There is no statistical
22   evidence whatsoever that glyphosate increases the risk of any of the tumors examined across these 12
23   studies.
24      I would emphasize that the results summarized above correspond to a one-sided test that only
25   evaluates the hypothesis that increased glyphosate exposure is associated with an increased rate of tumors
26   – what we would refer to as a positive association. However, the data may also be analyzed to evaluate a
27   negative association – that is, a decreased tumor rate as glyphosate exposure increases. In fact, it turns out
28   that the one-sided p-values for testing negative effects can simply be computed as 1.0 minus the one-sided
29   p-values reported in Appendices A and B. In other words, any p-value reported in Appendices A and B
30   that is larger than 0.95 represents a p-value < 0.05 for testing for a negative association. There are 13 such
31   outcomes, as summarized in Appendix D (additionally adjusted for the false discovery rate). Again, as
32   with the tests for positive associations, we would expect 5% of all 345 tumor types with at least three
33   observed tumors to likewise yield one-sided p-values < 0.05 when testing for negative associations. The
34   13 such results are again entirely consistent with this expected proportion: there is actually about a 24.5%

                                                     Page 10 of 47
           Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 13 of 82



 1   chance of observing this many independent p-values < 0.05 relative to the expected proportion, assuming
 2   no compound-related effect.
 3      Finally, I have also been made aware of a statistical reanalysis carried out by Dr. Klaus Weber of data
 4   from Kumar mouse study. I have evaluated the reported data used by Dr. Weber. Some of the reported
 5   tumor counts differ slightly from the data reported in Greim. My own analysis indicates that utilizing the
 6   data tables reported by Dr. Weber does not substantively change my conclusions. I have included my
 7   results both based on the Kumar data as reported in Greim, et al, and the data reported by Dr. Weber (see
 8   Appendix B, Tables B.5 and B.6).
 9
10   V. RESULTS FROM DR. CHRIS PORTIER’S EXPERT REPORT
11   Given that the 1,016 p-values computed across all 12 studies yield nothing more than the expected pattern
12   of false positives given no effect from glyphosate exposure, Dr. Portier nevertheless most recently asserts
13   that there is sufficient evidence glyphosate increases the risk for a handful of cancers, including liver
14   adenomas, thyroid C-cell adenomas and carcinomas, skin keratocanthomas, and kidney adenomas in male
15   rats; mammary gland adenomas and adenocarcinomas in female rats; hemangiosarcomas, kidney tumors,
16   and lymphomas among male mice; and hemangiomas among female mice. His analysis unfortunately
17   would certainly not pass the scrutiny of any meaningful peer review, and could actually be used as an
18   excellent case study in any university statistics course to illustrate the misappropriation of p-values. Most
19   critically, virtually any experienced statistician reviewing Dr. Portier’s work with the animal data would
20   see immediately that his approach has led to a very serious multiple testing problem. Dr. Portier’s analysis
21   is entirely dependent on p-values, arising from three types of computations: those for individual tumor
22   types by gender across each specific study (handpicked from among the more complete results contained
23   in Appendix A and Appendix B of this report), those that incorporate additional “historical control” data,
24   and those that “pool” data from across studies for a given tumor type. Dr. Portier provides a patchwork of
25   p-values from across these three sources, reporting significant findings (for increased risk, only) wherever
26   and in whatever manner they are found in order to manufacture a pattern implicating glyphosate.
27      While the multiple testing problem overarches all of these p-values, there are additional chronic flaws
28   with his use of historical controls and pooling procedures that need to be illustrated separately. These
29   three issues – multiple testing, historical controls, and pooling of data sets – are correspondingly
30   addressed in Sections V.A–V.C. Section V.D subsequently summarizes how the conclusions in Dr.
31   Portier’s report have evolved from his prior work.

32   (V.A) The Use and Interpretation of P-Values




                                                     Page 11 of 47
            Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 14 of 82



 1   Given the large number of animal tumors under investigation here, any analysis should consider the
 2   concerns and recommendations of statisticians and researchers about the use and misuse of p-values, as
 3   discussed in Section III. Unfortunately, Dr. Portier does not consider or apply even one of the common or
 4   recommended remedies for this problem. In his tables summarizing results for individual rat and mouse
 5   studies, he includes only what he terms as “Tumors of Interest”, which appear to be selected primarily on
 6   the basis of their statistical significance within at least one of the several studies. His report makes no
 7   effort to directly adjust p-values for multiple comparisons, for example by using the false discovery rate
 8   approach recommended by experts in the profession. This is in spite of Dr. Portier’s brief comment on
 9   page 40 of his expert report that “an adjustment for multiple comparisons is indeed warranted in
10   evaluating the outcomes of these studies.”
11      The only other mention of the multiplicity problem is the inclusion of Table 15, which Dr. Portier
12   constructed in response to comments submitted last year to the EPA by Dr. Joseph Haseman. Dr. Portier
13   has used Haseman’s tally of the expected number of false positives as a basis for demonstrating that there
14   are more significant results among male CD-1 mice than would be expected by chance, given no
15   glyphosate effects. A couple of critical differences in Dr. Portier’s approach account for his findings.
16   First, Haseman bases his own expected false positive number on the number of tumors for which there are
17   at least 3 observed cases (roughly the number required for a possibility of a p-value < 0.05). Haseman
18   confined his estimate to sites with three tumors based on the use of an exact one-sided p-value, given that
19   the study designs used for the glyphosate feeding experiments generally cannot yield a p-value < 0.05
20   unless at least three rodents are observed with a given tumor type. However, Dr. Portier is including his
21   historical control test, which (while not validated, as illustrated in the following section) can yield p-
22   values < 0.05 for observed tables that contain only two tumors. For example, the Sugimoto
23   hemangiosarcoma figures in male mice (0/50, 0/50, 0/50, 2/50) generates an exact one-sided trend test p-
24   value of 0.062, which is > 0.05. When reanalyzed by Dr. Portier using historical controls his resulting p-
25   value (what he refers to as “P Hist ”) is 0.004, which is < 0.05. In other words, when he incorporates
26   historical controls he is able to generate a p-value < 0.05 for smaller numbers of tumors in the observed
27   table. In addition, since he appears to be counting either trend test result with a p-value < 0.05, or a “P Hist ”
28   result < 0.05, as “positive,” he is at least doubling the number of observed tests among those tumor types
29   for which historical control data are available. These uses of historical controls explain the disparity in Dr.
30   Portier’s Table 15 between what is observed and what is expected relative to statistically significant
31   findings among male CD-1 mice.
32      However, in addition to that, such a comparison of observed and expected – while interesting for
33   exploratory purposes – does not directly address the more pressing question: is there evidence of a
34   compound-related effect with respect to any specific cancer type? The answer in part requires multiple

                                                      Page 12 of 47
           Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 15 of 82



 1   testing adjustments to individual p-values, such as the false discovery rate approach we use for both the
 2   rat and mouse studies. As reviewed in Section III, other recommendations for balancing the overuse of p-
 3   values include full disclosure of all tests performed, and the estimation of actual effect sizes along with
 4   measures of effect size variability (such as confidence intervals). Dr. Portier uses neither of these
 5   approaches.

 6   (V.B) P-values Using Historical Controls
 7   The quantitative use of historical controls for the sake of establishing treatment effects within a given
 8   statistical analysis is not universally accepted in experimental research. Many researchers view historical
 9   controls at best as a means of laboratory quality control (to check consistency of outcome rates) or as a
10   qualitative measure before reaching any determination of causation. However, even if the historical data
11   are judged by study toxicologists to be comparable and potentially useful for inclusion with new
12   experimental data, any statistical analysis needs to be carefully planned and conducted to ensure that p-
13   values are computed appropriately. Dr. Portier’s expert report helps to illustrate why. He argues that we
14   can compare prior experimental results for unexposed rats or mice to what we observe among treated
15   rodents in a given experiment. Particularly for rare or uncommon events, such as the cancer types
16   investigated for the glyphosate experiments, it may appear compelling or interesting when the number of
17   tumors observed in a treatment group is markedly higher than what we would expect given the average
18   control rate in prior experiments. However, the approach not only is not helpful for this particular
19   analysis, but is fundamentally inaccurate and is moreover applied inconsistently by Dr. Portier.
20      Most critically, underlying response rates almost always vary across different experiments, even when
21   those experiments are studying the same outcomes but using different samples at different times and in
22   different settings or laboratories. Even for the best or most consistently controlled studies, there are
23   underlying factors inherent in the sampling, the methods, the environment, and so forth, that can
24   significantly affect the likelihood of response. This is why, for example, statisticians account for study
25   differences or heterogeneity when combining data from different experiments or study sites (as discussed
26   more extensively in the following section – Section V.C – in the context of Dr. Portier’s “pooled”
27   analyses).
28      Dr. Portier illustrates this with an example on page 28 of his report. In this case, he uses historical
29   controls to assess hepatocellular adenoma in the Wistar rats studied by Brammer, and cites results from
30   16 historical control groups with an underlying range in adenoma rates of 0% to nearly 18%. This
31   relatively wide range in adenoma rates, across studies using the same genetic strain of rat, is a perfect
32   example of how significantly these outcome rates can vary between experiments. However, Dr. Portier’s
33   solution is simply to apply the average rate of 4.3% across the 16 studies to the results of the Brammer


                                                     Page 13 of 47
            Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 16 of 82



 1   experiment, which yielded 0/53, 2/53, 0/52, and 5/52 male rats with liver adenomas across the four
 2   respective dose groups. Although Portier appears to dismiss the possibility, it is entirely possible that the
 3   Brammer sample actually did have an underlying liver adenoma rate nearer to 18% than to 0%. In that
 4   case, observing 7 liver adenomas out of 210 mice would not be at all remarkable. Because Dr. Portier
 5   failed to formally account for the potential range of historical control tumor rates when generating his test
 6   statistic, his resulting p-value is flawed.
 7      Even assuming justification for including historical controls in his analysis (i.e., the historical controls
 8   are sufficiently consistent with the given feeding experiment data), Dr. Portier’s approach is deeply
 9   flawed, and alarmingly inconsistent even with the recommended statistical methods cited within his own
10   sources. He appeals on page 21 of his expert report to four references as “guidelines” (numbers 30, 33,
11   34, and 66 in his citation list). The first three provide an exceptionally thin foundation for such a key
12   aspect of Dr. Portier’s analysis: the first is somewhat of a self-reference (the preamble to the IARC
13   glyphosate monograph, written by a group chaired by Dr. Portier), and the second and third are regulatory
14   references specific to the EPA and the European Chemicals Agency. The fourth is an expository article
15   authored by Dr. Joseph Haseman in an environmental health journal – the only one of the four references
16   that outlines specific statistical methodology for incorporating historical controls. The Haseman paper
17   describes the heterogeneity problem described above – the tendency of different study samples to have
18   significantly different tumor rates – and proposes a sensible modeling method that accounts for these
19   differences. Dr. Portier offers no explanation for why he fails to use this approach, in spite of his citing
20   the paper in which it was suggested. Moreover, there are other references in the statistical literature that
21   specifically address the problem of incorporating historical controls. For example, Fung et al (Canadian
22   Journal of Statistics, 1996), Greim et al (Human & Experimental Toxicology, 2003), and Peddada et al
23   (Journal of the American Statistical Association, 2007), among others, all offer overviews and options for
24   a proper analysis using historical controls – none of them mentioned or utilized by Dr. Portier, in spite of
25   his citing these articles in a recently published commentary (Portier and Clausing, 2017). The common
26   principle underlying all of these methods is the need to account for differences in underlying tumor rates
27   for controls drawn from a variety of experiments. As explained more fully in the following section, the
28   general consequence of not properly adjusting for such differences is underestimation of p-values, which
29   leads to inflation of p-values < 0.05 and “statistically significant” findings due to nothing more than
30   chance. Given the hundreds of tumor types under consideration across the glyphosate rodent experiments,
31   this is a problem that should be meticulously avoided.
32      Aside from his completely incorrect analysis, the p-values computed by Dr. Portier using historical
33   controls do not change any of the substantive conclusions of the analysis, since Dr. Portier neglected to
34   account for the enormous multiple testing problem. Even when the corresponding trend test p-values in

                                                     Page 14 of 47
            Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 17 of 82



 1   Tables A1–A7 and B1–B5 of this report were replaced by Dr. Portier’s historical control-based results
 2   and then adjusted with respect to the false discovery rate, none of them was significant. In addition, Dr.
 3   Portier neglects to explain why he selectively highlights tests using historical data – there were apparently
 4   many other tumor types for which historical control data were available but not used. It appears that such
 5   results were reported by Dr. Portier primarily if they resulted in a p-value < 0.05.

 6   (V.C) P-values From “Pooled” Analyses and Interpretation of Results Across Studies
 7   Given the multiple testing problem and the relative rarity of most all of the cancer types, there would
 8   seem to be some impetus to attempt combining data from across studies. Aggregating the sample size and
 9   tumor counts could potentially increase the likelihood of observing a compound-related effect, if any such
10   an effect exists. Dr. Portier’s attempts to accomplish this through his “pooled” analyses are nevertheless
11   completely unreliable. His analysis and comparative interpretations across the various experiments
12   disregard conventional statistical practice in several fundamental and egregious respects, and his approach
13   is ad hoc and inconsistently applied, without any kind of systematic analysis plan across the available
14   studies or tumor types.
15      First and most critically, Dr. Portier’s “pooled” procedures flout statistical standards by making no
16   adjustments at all for differences between experiments or for the similarities among mice within each
17   study. Dr. Portier simply aggregates data across various subsets of rat and mouse studies, treating rodents
18   born and raised in different environments, fed from different sources, measured using different tools by
19   different researchers over a 30-year span as though they were all included within a single experiment at
20   the same time. This is an astonishing violation of accepted practice that would serve as an example in any
21   relevant college class of how not to combine data from different sources.
22      Generally speaking, any combining of data across experiments such as those considered here requires
23   that (1) the experiments are comparable enough in terms of their measurements and conditions to justify
24   their inclusion in a combined analysis; and (2) if the studies are sufficiently comparable, some adjustment
25   is made for similarities or correlation of subjects within each study, as well as for differences in treatment
26   effects that are often observed. Addressing (1) is a primarily qualitative first step that usually relies on
27   some consensus among collaborating investigators with complementary expertise, who assess the
28   admissibility of available studies in terms of their comparability (e.g., that they consistently measured
29   outcomes and administered treatment doses). Without such strong justification, any attempt to
30   quantitatively combine the data from the individual studies can be unreliable. Dr. Portier has provided
31   very little information in his report about how he conducted such a review – for example, describing
32   consultations with other collaborators or sources about whether pathologies were examined consistently
33   for the handful of tumors types that he selected for his pooled analyses.


                                                     Page 15 of 47
            Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 18 of 82



 1      Putting aside the lack of a qualitative review, the “pooling” approach used by Dr. Portier to simply
 2   combine data from different studies – as though they arose from the same experiment – is completely
 3   inappropriate and incorrect. The underlying principle in any analysis that combines data from independent
 4   studies is that the studies themselves – carried out at different times and in different settings – may be
 5   distinct in ways that may or may not be measurable. These differences, often referred to in experimental
 6   research as sample or study heterogeneity, need to be considered within the statistical analysis in order to
 7   avoid bias when computing p-values. Why is this so crucial? There are two reasons to account for study
 8   differences. First, ignoring them often leads to an increased chance of a false positive result. To illustrate,
 9   consider an example where we have access to data for a flu vaccine that was administered to 10 large
10   nuclear families, with 5 family members in each home. For the sake of illustration, suppose that the
11   members within each of these families – for one reason or another – have the exact same response to the
12   vaccine. In other words, if one member of a given family responds to the vaccine, then all family
13   members respond. If one does not respond, then neither to any of the other family members. Although
14   there are 50 total individuals enrolled in this study, our effective sample size is only 10. In other words,
15   one family member from each home is sufficient. The other 4 give us no additional information about the
16   treatment effect, and are statistically redundant. From a statistical standpoint, naively assuming that all 50
17   individuals are somehow independent could lead to significant underestimation of the p-value testing the
18   vaccine effect, making a false positive much more likely.
19      This example is obviously extreme. In practice, we would seldom (if ever) observe that kind of perfect
20   correlation among data from a given study site or experimental source. However, in any analysis of data
21   from multiple sites or experiments, some appreciable correlation within each will exist due to variations
22   in the different sampling populations or experimental conditions. This heterogeneity will result in at least
23   some effective reduction of the sample size, in proportion to the strength of the correlation between
24   subjects within each study. Suppose that we ignore those study differences by simply aggregating the data
25   and analyzing them as though they all came from the same experiment, as Dr. Portier has done. Then p-
26   values computed to test overall treatment effects will be inaccurate. Generally speaking, they will be too
27   small, leading researchers to overstate any evidence of a treatment effect.
28      The second reason to assess and account for study differences is that the treatment effect often differs
29   between the individual studies, both with respect to the size and even the direction of the effect (e.g.,
30   increasing or decreasing trend). Another crucial step in combining datasets is to compare the effects
31   across studies, to understand how they are either alike or different with respect both to their direction and
32   magnitude. This typically involves some estimation of effect sizes, along with additional formal statistical
33   comparisons to ensure that the effects are consistent before any data from across the various studies are
34   pooled. Treatment effects in dose-response experiments are often summarized using an odds ratio or

                                                     Page 16 of 47
            Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 19 of 82



 1   relative risk, which in the case of the glyphosate experiments would estimate the relative increase or
 2   decrease in the odds or risk of tumor for some given increase in glyphosate dose. For example, the so-
 3   called logistic regression model that is used extensively by researchers across numerous fields
 4   (particularly in biomedicine) allows researchers to estimate such odds ratios in ways that can examine
 5   whether the estimated odds ratios are consistent across experiments. A logistic regression can help an
 6   investigator to make a reasonable judgment about whether the observed results – expressed as odds ratios
 7   relative to glyphosate dose – in two or more different experiments are significantly different. This is a
 8   crucial assessment in any combined analysis that statisticians use to decide whether they are justified in
 9   estimating a “common” or averaged effect across all of the studies. The important point is that such
10   methods are generally applied as a matter of course in this kind of analysis, although they are not used at
11   all by Dr. Portier.
12      In short, Dr. Portier has apparently made no reasonable effort to address study heterogeneity, either
13   with respect to the correlation of rodents within study or to differences in dose-response effects across
14   studies. The seriousness of this flaw cannot be overstated. In addition to his failure to account for the way
15   that mice and rats are correlated within the individual studies, Dr. Portier has combined data from
16   different sources without regard for the magnitude or direction of observed effects within groups. At a
17   minimum, by failing to account for within-study correlation, Dr. Portier has underestimated the actual p-
18   values – hence overstating the evidence (and increasing the chance for a false positive result) – for those
19   tumor types that he has selected for “pooled” analyses. Moreover, relying only on p-values for these
20   “pooled” analyses, even if they correctly account for study heterogeneity, masks study differences in
21   ways that can seriously undermine any possible understanding of potential compound-related effects. I
22   know of no available applied statistical text or handbook that touches on this topic that even entertains the
23   possibility that an analyst would simply combine data from various experiments as Dr. Portier has done,
24   without carefully examining and accounting for study differences. His approach can only be described as
25   naïve at best, and deliberately misleading at worst.
26      Interestingly, Dr. Portier provides two citations (numbers 92 and 93 in his report) that he uses to
27   justify his combined analyses, and that provide some guidance about how he should conduct them. They
28   are expository articles from epidemiological journals, and – while not statistical sources, strictly speaking
29   – both provide general information about how to analyze data from different sources, consistent with the
30   principles summarized above. Both emphasize the importance of evaluating and accounting for study
31   heterogeneity to avoid bias in statistical inference, and both recommend the use of logistic regression
32   models to estimate treatment effects between studies and to assess whether those effects differ
33   significantly. Neither of these sources mention the option of aggregating data in the way that Dr. Portier
34   has done. On the contrary, one of them suggests that study heterogeneity should conservatively be

                                                    Page 17 of 47
           Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 20 of 82



 1   assumed even if there is statistical evidence that it does not exist. Dr. Portier astonishingly and
 2   inexplicably ignores all of this information within his own sources.
 3      How does this enormous oversight specifically compromise Dr. Portier’s conclusions? As just one
 4   example among his several pooled analyses, consider Dr. Portier’s assessment of liver adenomas among
 5   rats. Relying only on his personal qualitative judgment, and without any formal statistical justification,
 6   Dr. Portier chose to focus only on studies using Wistar rats (including the Brammer, Suresh, and Wood
 7   studies in Table 2), and to ignore female rats altogether. (If a logistic regression model was used, the
 8   analysis could readily include the other four rat studies as well as all female rats, easily accounting for
 9   any possible differences between the genetic strains and genders.) The Brammer study observed counts of
10   0/53, 2/53, 0/53, 5/52, with a trend test p-value of 0.008 and an FDR-adjusted trend p-value of 0.370.
11   Note that the Suresh study resulted in 24/50, 22/50, 10/48, and 21/50 liver adenomas across the male dose
12   groups, an increasing trend that was not statistically significant (trend p–value = 0.391; FDR-adjusted
13   trend p-value = 0.715). The Wood study resulted in 0/50, 2/51, 1/51, and 1/51 liver adenomas across the
14   male dose groups, a weak increasing trend that was also not statistically significant (trend p–value =
15   0.418; FDR-adjusted trend p-value = 0.839). Even after excluding the other rat studies, along with any
16   results for females, in an argument spanning pages 32 and 33 of his report, Dr. Portier first suggests
17   pooling the Brammer, Wood, and Suresh liver adenoma data for male rats, and then arbitrarily excludes
18   the Suresh study because of its higher overall rate of liver adenomas (based again only on personal
19   judgment, without any formal statistical analysis). Dr. Portier then combines the data from Brammer and
20   Wood into a single table to produce a single trend test p-value, that he concludes demonstrates evidence
21   that glyphosate increases incidence of liver adenomas. Dr. Portier takes the same approach with
22   mammary tumors, combining only the data from Brammer and Wood, in order to generate a p-value <
23   0.05. However, he then elects to combine data from all three studies in order to obtain a p-value < 0.05
24   with respect to skin keratocanthomas. Notably, he reports that using only Brammer and Wood for skin
25   keratocanthoma does not generate a “statistically significant” p-value. This appears to be a
26   straightforward case of the “p-hacking” phenomenon discussed earlier in Section III, as he offers no
27   empirical justification for how he chooses to include or exclude the Suresh study from these additional
28   analyses.
29      Unfortunately, Dr. Portier’s arbitrary and incorrect analysis renders his resulting “pooled” p-value
30   entirely meaningless. Accounting for heterogeneity and estimating study-specific effects, as
31   recommended by Dr. Portier’s own sources, my own analysis of the liver adenoma data first demonstrated
32   definitively that there is highly significant correlation among rats within each study (using an exact test
33   for correlation in the StatXact software package). In addition, using a logistic regression model to
34   estimate observed effects, I found that the Brammer study indicates an odds ratio (OR) of 1.21 with

                                                     Page 18 of 47
            Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 21 of 82



 1   respect to an increased dose of 100 mg/kg (meaning a 21% increase in odds of liver adenoma for every
 2   additional 100 mg/kg bw/day). The Wood study resulted in an estimated OR of 1.01 (only a 1% increase
 3   in the odds of liver adenoma for an increased dose of 100 mg/kg), and the Suresh study also resulted in an
 4   estimated OR of 1.01. Moreover, the logistic regression revealed that there is a highly statistically
 5   significant difference in observed effects between the three studies – specifically, the effect observed in
 6   Brammer is higher than the effects observed in the Wood and Suresh data. In other words, Dr. Portier
 7   included two of the three studies in his “pooled” analysis that actually are demonstrably different with
 8   respect to glyphosate. This further invalidates Dr. Portier’s “pooled” p-value for evaluating a common
 9   potential effect across studies, which he computed using the Brammer and Wood data. Nevertheless,
10   aggregating the two datasets, without accounting for these potentially serious differences between the
11   underlying adenoma findings, Dr. Portier reports a significant “pooled” finding that is entirely driven by
12   the Brammer data. He implies that this somehow makes the result more convincing, which is a logical
13   leap equivalent to combining a gallon of paint with a gallon of paint thinner, and then selling the product
14   as two gallons of paint.
15       In addition to this conspicuous and fatal problem, Dr. Portier takes a highly inconsistent approach with
16   his “pooled” analyses that appears to focus primarily on achieving statistical significance. He “pools” and
17   “re-pools” rat and mouse data (always ignoring study heterogeneity), using different combinations of
18   studies without any predefined strategy or logical criteria. Dr. Portier’s “Joint Analysis” of the mouse
19   studies on pages 45-47 of his expert report is a particularly confusing and ad hoc jumble. To summarize
20   the arbitrary and incongruous nature of his approach:
21   •   Dr. Portier proposes that the only neoplasms that he needs to examine for combined or “pooled”
22       analyses are the five for which at least one of the four CD-1 studies resulted in a statistically
23       significant finding. Why the dozens of others should be ignored is not explained. At the very least,
24       Dr. Portier is compounding the grievous multiple testing problem discussed earlier, since the
25       significance of the “pooled” trend test p-values that he reports are driven entirely by the five
26       individual statistically significant results. A more systematic analysis would combine data from
27       across studies for each tumor type (assuming that the tumor types are consistent, and appropriately
28       accounting for study heterogeneity); estimate a common observed effect for each tumor type, along
29       with measures of statistical significance (including p-values and confidence intervals), assuming that
30       the effect is consistent across studies; and finally account for multiple comparisons (e.g., adjust for
31       the false discovery rate) among the set of resulting p-values. However, conducting such a systematic
32       analysis would still need to be preceded by a sound qualitative toxicological analysis to ensure that
33       the studies are comparable, as discussed at the beginning of Section V.C.



                                                     Page 19 of 47
           Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 22 of 82




 1   •   After confining himself to the CD-1 studies, Dr. Portier alternatively combines the two 18-month
 2       studies, the two 24-month studies, and then all four studies together, and then for each tumor type
 3       simply bases his conclusions on the one of those three that results in statistical significance. For
 4       example, in the summary of his findings, he claims there is evidence that glyphosate “causes” kidney
 5       tumors, after pooling all four CD-1 studies. However, he also claims there is evidence that glyphosate
 6       “causes” malignant lymphomas, conveniently based on the result from “pooling” only the two 18-
 7       month studies, even though there is no statistically significant effect when all four CD-1 studies are
 8       used. This is internally inconsistent and another example of “p-hacking.”
 9   •   Dr. Portier’s analysis of hemangiosarcomas in males is especially troubling. After first “pooling” the
10       two 18-month studies (significant result), and then the two 24-month studies (no significant result), he
11       proposes simply removing the 0/50 count observed in the highest dose group of the Knezevich study.
12       By excluding the mice in this high dose group – none of whom were observed with any
13       hemangiosarcomas, which would suggest no effect of the test compound – Dr. Portier is then able to
14       manufacture a statistically significant p-value when he pools the 24-month studies, as well as a
15       significant p-value when pooling all four CD-1 studies. This is a breathtaking manipulation that can
16       only be charitably described as statistical malpractice.
17   •   Dr. Portier’s summaries of the results for each of the five tumors introduce logical circularities and
18       other redundancies that artificially boost the impact of his findings. For example, consider his
19       discussion of kidney tumors. After alternately pooling the 18-month, 24-month, and all CD-1 studies,
20       Dr. Portier then compares the observed adenoma rates to historical controls. (As an aside, historical
21       controls are not considered by most statisticians or statistical sources as a valid means of establishing
22       causation, as discussed earlier. However, even using Dr. Portier’s criterion on page 21 of his report, it
23       is unclear why he uses historical controls in his analysis of the mouse studies that were not “from
24       untreated control groups from studies in the same laboratory within two to three years of the study
25       being evaluated.”) His conclusion is that, given historical control rates, the two adenomas observed in
26       each of the highest dose groups of the 24-month studies is highly improbable, and strengthens the
27       evidence of a compound-related effect. However, as discussed earlier in Section III in the context of
28       multiple hypothesis tests, this is self-evident when we are evaluating hundreds of tumor types across
29       12 studies: while such a result may be improbable for a single analysis, it is nearly certain that we
30       would observe such results for many tumors when we are computing hundreds of p-values. Dr.
31       Portier is merely providing another outstanding explanation for how a false positive arises when we
32       carry out a large number of statistical tests.




                                                      Page 20 of 47
            Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 23 of 82




 1   •   Dr. Portier declares that all five mouse studies, including the four CD-1 studies and the Swiss Albino
 2       study, are “useful”, but then confines his analysis to the CD-1 studies. No explanation is given for the
 3       omission of the Kumar study.

 4   Dr. Portier’s joint analysis of the rat studies (under “Summary – Rats” on pages 32-35 in his expert
 5   report) is similarly uneven, suffering from inconsistencies similar to his mouse analyses. To highlight:
 6   • As with the mouse studies, for his “pooled” analyses of rats Dr. Portier selects only those tumor types
 7       with statistically significant individual p-values (unadjusted for false discovery rates). There is no
 8       systematic approach applied to the dozens of other tumor types that were evaluated, and no attempt to
 9       make an adjustment for multiple comparisons.
10   • Dr. Portier carried out “pooled” analyses of both liver adenomas, mammary gland tumors, and skin
11       keratocanthomas among the three studies that used Wistar rats (Brammer, Suresh, and Wood in Table
12       2). As discussed previously, for his analysis of liver adenomas Dr. Portier eliminated the Suresh study,
13       without any formal statistical justification, based only on his personal judgment that the studies cannot
14       be combined because of differences in underlying tumor rates. He likewise excluded the Suresh study
15       from his “pooled” analysis of mammary gland adenomas, but then included Suresh for testing skin
16       keratocanthomas. For all three tumor types, Dr. Portier’s arbitrary exclusion or inclusion resulted in a
17       “pooled” p-value < 0.05. Again, as noted before, an averaged or pooled effect can be estimated even if
18       the underlying average tumor rates differ, provided that the observed effects across the studies are
19       consistent. Dr. Portier made no attempt to evaluate the latter issue, which invalidates his results.
20
21   (V.D) Evolution of Dr. Portier’s Analyses of Animal Carcinogenicity Studies
22   In addition to the flaws in Dr. Portier’s expert report, there are other serious questions about the
23   consistency of his approach, particularly in light of how his work has evolved. He at times appears to
24   selectively rely on analytic strategies motivated primarily by arbitrarily seeking for “statistical
25   significance” (i.e., computing more p-values < 0.05). A few illustrations:
26   • The IARC Glyphosate monograph – for which Dr. Portier served as an invited specialist – used
27       approximate trend test p-values to assess potential glyphosate effects for the Knezevich data. As
28       discussed in Section IV, approximate p-values tend to underestimate the corresponding actual p-
29       values, and thus increase the potential for “statistically significant” results that are only due to chance.
30       As outlined in the supplementary material of Dr. Portier’s expert report, criticism of the approximate
31       trend test by Dr. Joseph Haseman and others prompted Dr. Portier to rely solely on the exact test in his
32       subsequent work. However, he has resorted again to approximate p-values for some of the p-values he
33       computes using historical controls, arguing that the sample sizes justify their use. Since exact p-values
34       can be computed instantaneously using modern software, there is no good reason to use approximate

                                                      Page 21 of 47
           Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 24 of 82



 1      tests, particularly when their substantive results disagree with the exact p-values that they are merely
 2      estimating.
 3   • It is particularly puzzling that Dr. Portier has previously dismissed the rat feeding studies, declaring
 4      that they provide no collective evidence that glyphosate increases cancer risk (for example, on page 11
 5      of Document 9 in the supplementary material of his expert report). He offers no explanation regarding
 6      why he has now decided that the statistical evidence supports such an association.
 7   • Dr. Portier reports only results that demonstrate increasing tumor incidence for increasing glyphosate
 8      dose, but mentions nothing about tumors that demonstrate decreasing risk of tumor across the
 9      treatment groups. When computing one-sided p-values in the absence of any strong prior evidence in
10      favor of either a positive or negative effect, statistical convention dictates that we maintain equipoise
11      about what is observed, even if the result is counterintuitive or in a direction opposite of what we
12      would either hope for or expect.
13   • Dr. Portier also appears to be inconsistent in his standard for statistical significance. After quoting
14      EPA guidelines on page 20 of his expert report, establishing a significance threshold of 5%, he later
15      (on page 25) fudges somewhat to suggest that we should also consider p-values between 5% and 10%.
16      This is borne out in Tables 8 and 14, where he implies “statistical significance” by highlighting p-
17      values > 0.05 for multiple tumor sites. This further elevates the likelihood of observing false positive
18      results, even assuming his other strategies (i.e., historical controls and “pooled” analyses) were
19      actually valid.
20
21   VI. Conclusion
22   As discussed in Sections III and IV, in the context of the hundreds of tumors evaluated across all 12
23   rodent glyphosate feeding experiments, it is clear that the individual statistically significant findings
24   closely follow the pattern we would expect given that glyphosate does not increase the risk of cancer. Dr.
25   Portier’s own analysis of the rodent feeding studies violates several major foundational principles of
26   statistical practice. His entire approach is based on p-values, which he has selectively reported and used to
27   highlight those findings that are statistically significant, without applying any commonly recommended
28   methods to account for the hundreds of individual tumor types evaluated across the 12 experiments. Dr.
29   Portier has further employed other flawed strategies, including the use of historical controls and the
30   “pooling” of subsets of the data to generate additional p-values, which he has computed using inconsistent
31   and arbitrary standards. Dr. Portier’s “pooled” analyses are deeply defective, lacking any accounting for
32   study heterogeneity or differences in observed effects as recommended by Dr. Portier’s own cited
33   sources. His simple aggregating of data – as though data from disparate studies arose from the same
34   experiment – is completely inappropriate and unsupported by any credible statistical text or manual

                                                     Page 22 of 47
          Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 25 of 82



1   regarding methods for analyzing data from multiple sources. Dr. Portier’s analytic strategy seriously
2   violates our own profession’s “Statement on p-Values: Context, Process, and Purpose” (The American
3   Statistician), referenced in Section III, which notes in part: “P-values and related analyses should not be
4   reported selectively. Conducting multiple analyses of the data and reporting only those with certain p-
5   values (typically those passing a significance threshold) renders the reported p-values essentially
6   uninterpretable. Cherry-picking promising findings, also known by such terms as data dredging,
7   significance chasing, significance questing, selective inference, and ‘p-hacking,’ leads to a spurious
8   excess of statistically significant results…and should be vigorously avoided.”
9



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                    Christopher D. Corcoran                                              Date




                                                   Page 23 of 47
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 26 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 27 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 28 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 29 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 30 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 31 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 32 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 33 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 34 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 35 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 36 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 37 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 38 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 39 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 40 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 41 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 42 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 43 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 44 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 45 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 46 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 47 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 48 of 82
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 49 of 82
  Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 50 of 82



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                                            Page 1 of 5
  Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 51 of 82



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                                             Page 2 of 5
  Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 52 of 82



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                                            Page 3 of 5
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                                            Page 5 of 5
Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 55 of 82
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 56 of 82




       Researcher of the Year, Department of Mathematics and Statistics, Utah State University. (2005).

       Top Professor, Mortar Board Honor Society, Utah State University Chapter. (2002).

       Teaching Fellow, Department of Biostatistics, Harvard School of Public Health. (1996).

       Academic Achievement Award, Utah State University. (1995).

       NIH Cancer Research Training Grant Recipient. (1995).

       Mortar Board, Utah State University. (1994).

       Golden Key National Honor Society Peat Marwick Scholarship. (1993).

                                    ACADEMIC INSTRUCTION

Teaching Experience
   Utah State University
      MATH 2260, Internship and Cooperative Studies, 1 course.
      MATH 4910, Directed Reading and Conference, 2 courses.
      MATH 5910, Directed Reading and Conference, 4 courses.
      MATH 6250, Graduate Internship/Cooperative Studies, 5 courses.
      MATH 6910, Directed Reading and Conference, 6 courses.
      MATH 7810, Topics in Mathematics (Topic), 2 courses.
      MATH 7910, College Teaching Internship, 2 courses.
      MATH 7990, Continuing Graduate Advisement, 8 courses.
      STAT 3000, Statistics for Scientists, 5 courses.
      STAT 4250, Advanced Internship/Co-op, 1 course.
      STAT 5100, Linear Regression and Time Series, 3 courses.
      STAT 5120, Categorical Data Analysis, 6 courses.
      STAT 5810, Topics in Statistics, 4 courses.
      STAT 5820, Topics in Statistics, 1 course.
      STAT 5820, 6910, Topics in Statistics, 1 course.
      STAT 5970, Seminar, 3 courses.
      STAT 6250, Graduate Internship/Co-op, 1 course.
      STAT 6550, Statistical Computing, 1 course.
      STAT 6810, Topics in Statistics (Topic), 1 course.
      STAT 6820, Topics in Statistics (Topic), 1 course.
      STAT 6910, Seminar in Statistics, 14 courses.
      STAT 6950, Directed Reading and Conference, 1 course.
      STAT 6990, Continuing Graduate Advisement, 2 courses.
      STAT 7810, Topics in Statistics (Topic), 1 course.
      STAT 7990, Continuing Graduate Advisement, 1 course.

Directed Student Learning
       Dissertation Committee Chair, "Network Meta-Analysis," Mathematics & Statistics. (September 1,
           2014 - Present).
           Advised: Brinley Zabriskie

       Master's Committee Chair, "Statistical Strategies for Public Database Access and Analysis,"
          Mathematics & Statistics. (September 1, 2014 - Present).
          Advised: Christina Stevens



Report Generated on July 29, 2017                                                          Page 2 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 57 of 82




       Dissertation Committee Chair, Mathematics & Statistics. (August 2013 - Present).
           Advised: Divya Nair

       Dissertation Committee Chair, Mathematics & Statistics. (August 2013 - Present).
           Advised: Sarah Schwartz

       Master's Committee Chair, Mathematics & Statistics. (August 2013 - Present).
          Advised: Michael Steelman

       Master's Committee Chair, Mathematics & Statistics. (August 2012 - Present).
          Advised: Jenny Clements

       Dissertation Committee Member, Nutrition, Dietetics and Food Sciences. (August 2010 -
           Present).
           Advised: Meo La

       Dissertation Committee Chair, "Computational methods for family-based association tests."
           (August 2008 - May 2012).
           Advised: William Welbourn

       Master's Committee Chair, "Serum cytokine levels and risk of dementia." (2011).
          Advised: Austin Bowles

       Master's Committee Chair, "TBD." (2011).
          Advised: Elizabeth Giles

       Master's Committee Chair, "Patterns of stressful life events and Alzheimer's disease risk." (2011).
          Advised: Megan Platt

       Supervised Research/URF, "Effectiveness of surgical strategies for hysterectomy," Biology.
          (2010).
          Advised: Erica Huelsmann

       Master's Committee Chair, "Comparing methods for family-based association tests." (2009).
          Advised: Abbie Lundgreen

       Master's Committee Chair, "Heritability of cognitive change." (2009).
          Advised: Colette Childs

       Dissertation Committee Chair, "Small-sample inference for correlated categorical data." (2008).
           Advised: Larry Cook

       Master's Committee Chair, "Heritability of cognitive traits using complex pedigrees and sibships."
          (2008).
          Advised: Cassidy Allen

       Master's Committee Chair, "Multivariate analysis of longitudinal neuropsychological measures in
          the Cache County Memory Study." (2006).
          Advised: Sarah Schwartz

       Master's Committee Chair, "Computational efficiency of exact family-based association tests."
          (2006).
          Advised: Yanwei Ouyan




Report Generated on July 29, 2017                                                            Page 3 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 58 of 82



       Supervised Research/URF, "Nutritional risk factors for cognitive decline among the elderly,"
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          Advised: Angela Dunn

       Dissertation Committee Chair, "Exact family based association tests." (2004).
           Advised: Kady Schneiter

       Supervised Research/URF, "Cognitive decline and antioxidant, Vitamin C, and Vitamin E intake
          among the elderly," Biology. (2003 - 2004).
          Advised: Leila King

       Supervised Research/URF, "Haplotypes of candidate genes as predictors of hip fracture in the
          elderly," Biology. (2003 - 2004).
          Advised: Sara Anderson

       Master's Committee Chair, "Use of classification methods for dementia screening." (2003).
          Advised: Leslie Toone

       Supervised Research/URF, "Using patient characteristics of the demented to classify dementia
          type," Mathematics & Statistics. (2003).
          Advised: Kimberly Peterson

       Supervised Research/URF, "Persistence of behavioral disturbances among the demented,"
          Mathematics & Statistics. (2002 - 2003).
          Advised: Craig Huber

       Master's Committee Chair, "Correcting for left truncation bias when evaluating survival among the
          elderly with dementia." (2002).
          Advised: Jennifer Harrick

       Supervised Research/URF, "General advising for submitting abstract regarding NIH internship
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          Advised: Randy Johnson

       Supervised Research/URF, "Genetic factors in shortening time-to-onset of Alzheimer's disease,"
          Mathematics & Statistics. (2002).
          Advised: Sunni Mumford

       Master's Committee Chair, "Operating characteristics of exact methods for corelated categorical
          data." (2001).
          Advised: Shea Watrin

                      RESEARCH & OTHER CREATIVE ACTIVITIES

Published Intellectual Contributions
   Book Chapters

       Book, Chapter in Scholarly Book (Published)
       Corcoran, C. D., Senchaudhuri, P., Mehta, C., Patel, N. (2010). Exact Methods for Categorical
          Data Analysis. In BS Everitt, CR Palmer (Ed.), Encyclopaedic Companion to Medical
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Report Generated on July 29, 2017                                                           Page 4 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 59 of 82



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       Cutler, A., Corcoran, C. D., Toone, L. (2005). Bagging. Encyclopedia of Statistics in Behavioral
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   Refereed Journal Articles

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       Rattinger, G. B., Fauth, E. B., Behrens, S., Sanders, C., Schwartz, S., Norton, M. C., Corcoran,
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Report Generated on July 29, 2017                                                              Page 5 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 60 of 82



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Report Generated on July 29, 2017                                                              Page 6 of 28
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Report Generated on July 29, 2017                                                               Page 7 of 28
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Report Generated on July 29, 2017                                                                  Page 8 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 63 of 82



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Report Generated on July 29, 2017                                                             Page 9 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 64 of 82



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Report Generated on July 29, 2017                                                            Page 10 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 65 of 82



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Report Generated on July 29, 2017                                                            Page 11 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 66 of 82



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Report Generated on July 29, 2017                                                           Page 12 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 67 of 82



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Report Generated on July 29, 2017                                                              Page 13 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 68 of 82



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Report Generated on July 29, 2017                                                              Page 14 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 69 of 82




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Report Generated on July 29, 2017                                                              Page 15 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 70 of 82



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Presentations Given



Report Generated on July 29, 2017                                                          Page 16 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 71 of 82



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       Milman, L., Faroqi-Shah, Y., Corcoran, C. D., Clinical Aphasiology Conference, "Normative data
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       Corcoran, C. D. (Invited Lecture), International Webinar, "Exact Nonparamatric Inference for
          Correlated Categorical Data," Cytel Software Corporation. (April 7, 2014).

       Corcoran, C. D., Annual Meeting of the Utah Chapter of the American Statistical Association,
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Report Generated on July 29, 2017                                                           Page 17 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 72 of 82



       Corcoran, C. D. (Presenter & Author), Boston University Department of Biostatistics Seminar,
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          Biostatics, Boston University, Boston University, Boston, MA. (March 20, 2014).

       Corcoran, C. D. (Presenter & Author), Brigham Young University Department of Statistics
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       Rattinger, G. B., Schwartz, S., Sanders, C., Corcoran, C. D., Fauth, E. B., Norton, M. C.,
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           America, "Effect of caregiver relationship closeness and coping strategies on costs of care in
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       Corcoran, C. D. (Presenter & Author), Food and Drug Administration Workshop, "StatXact
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       Corcoran, C. D. (Presenter & Author), Joint Statistical Meetings, "New StatXact Toolkit for
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       Rattinger, G. (Presenter & Author), Schwartz, S. (Author Only), Corcoran, C. D. (Author Only),
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Report Generated on July 29, 2017                                                            Page 18 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 73 of 82



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Report Generated on July 29, 2017                                                           Page 19 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 74 of 82



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Report Generated on July 29, 2017                                                            Page 20 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 75 of 82



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Report Generated on July 29, 2017                                                           Page 21 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 76 of 82



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Report Generated on July 29, 2017                                                            Page 22 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 77 of 82



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Report Generated on July 29, 2017                                                           Page 23 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 78 of 82



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Report Generated on July 29, 2017                                                              Page 24 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 79 of 82



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       Toone, L., Tschanz, J., Rabins, P. V., Steinberg, M., Onyike, C., Corcoran, C. D. (Author Only),
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       Norton, M. C., Steffens, D. C., Toone, L., Tschanz, J. T., Hayden, K., Corcoran, C. D. (Author
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          C., International Conference on Alzheimer's Disease and Related Disorders,
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Report Generated on July 29, 2017                                                           Page 25 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 80 of 82




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          Health Sciences Center, "Implementing an exact family based association test in the
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       Lisota, R., Steffens, D., Toone, L., Tschanz, J. T., Norton, M., Corcoran, C. D. (Author Only),
           Welsh-Bohmer, K. A., Breitner, J. S., Annual AAGP Meeting, "Vascular Risk Factors Predict
           Chronicity of Depression in the Elderly," Baltimore, MD. (February 2004).

       Schneiter, K., Corcoran, C. D., The Western North American Region of The International
          Biometric Soceity, "An Exact Approach to Family Based Association Tests Using a Network
          Algorithm.," The International Biometric Society, Golden, CO. (2003).

       Corcoran, C. D. (Invited Lecture), Invited Seminar, Brigham Young University, "A network
          algorithm for exact family based association tests," Provo, UT. (September 2003).

       Corcoran, C. D. (Author Only), Schneiter, K., Spring Meeting of the Western North America
          Region of the International Biometrics Society, "A Network Algorithm for Exact-Based
          Association Tests," Denver, CO. (June 2003).

       Corcoran, C. D. (Presenter & Author), Senchaudhuri, P., Spring Meeting, Western North America
          Region, "Exact Dose-Response Estimation for Clustered Binary Data," International
          Biometrics Society, Denver, CO. (June 2003).

       Huber, C., Steinberg, M., Tschanz, J., Corcoran, C. D. (Author Only), Posters on the Hill, "A
          Longitudinal Model for Behavioral Disturbances among the Elderly with Dementia: The Cache
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       Norton, M. C., Steffens, D. C., Skoog, I., Corcoran, C. D. (Author Only), Welsh-Bohmer, K. A.,
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           Predictive of Future Episodes of Depression in the Elderly than Gender, Age, or APOE
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       Tschanz, J., Welsh-Bohmer, K., Norton, M., Corcoran, C. D. (Author Only), Breitner, J.,
          International Neuropsychological Society 31st Annual Meeting, "Progression to Dementia in
          Diverse Types of Mild Cognitive Impairments of Aging," Honolulu, HI. (February 2003).

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Report Generated on July 29, 2017                                                            Page 26 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 81 of 82



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           interacts with mild cognitive deficit to shorten time to dementia onset," Stockholm, Sweden.
           (July 2002).

       Tschanz, J., Norton, M., Corcoran, C. D., LaCaille, R., Welsh-Bohmer, K., Breitner, J.,
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       Corcoran, C. D. (Author Only), International Conference on Alzheimer's Disease and Related
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       Hayden, K., Khachaturian, A., Breitner, J., Tschanz, J., Corcoran, C. D. (Author Only), Norton, M.,
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       Wengreen, H. J., Munger, R. G., West, N., Cutler, D., Corcoran, C. D., Zhang, J., Sassano, N. E.,
          International Conference on Nutrition and Aging, "Protein Intake and Risk of Osteoporotic Hip
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       Corcoran, C. D. (Presenter & Author), WHO Meeting for the Prevention of Craniofacial
          Anomalies, "Deisgn consideration for dose-response studies.," Park City, UT. (May 2001).

       West, N., Tschanz, J., Welsh-Bohmer, K., Corcoran, C. D., Wyse, B., Weight, C., Breitner, J.,
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Contracts, Grants and Sponsored Research
   Contract

       Kauwe (Brigham Young University), Keone (Principal), Munger, Ronald G. (Supporting),
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          Cache County Study," Sponsored by USTAR, State, $42,000.00. (February 1, 2011 - May 30,
          2011).

   Grant

       Tschanz, Joann T (Principal), Corcoran, Christopher D (Supporting), Munger, Ronald G.
          (Supporting), Lefevre, Michael (Supporting), "Epidemiology of Alzheimer’s Disease resilience
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          August 31, 2021).

       Corcoran, Christopher D (Supporting), Stevens, John R. (Supporting), "miRNA and colorectal
          cancer: Associations with tumor phenotype and survival," Sponsored by National Institutes of
          Health, Federal, $1,250,000.00. (July 2012 - June 2017).

       Corcoran, Christopher D (Supporting), "Pleiotropic and interaction effects on Alzheimer’s disease
          risk and progression," Sponsored by National Institutes of Health, Federal, $1,250,000.00.
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       Corcoran, Christopher D (Supporting), "Prenatal and Neonatal Biologic Markers for Autism,"
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Report Generated on July 29, 2017                                                          Page 27 of 28
      Case 3:16-md-02741-VC Document 655-12 Filed 10/28/17 Page 82 of 82




Intellectual Contributions in Submission
   Refereed Journal Articles

       Milman, L., Faroqi-Shah, Y., Corcoran, C. D., Damele, D. Interpreting MMSE scores in highly
           proficient bilingual Asian Indian-English and Spanish-English speakers: Demographic
           adjustments, item analyses, and supplemental measures.


                                              SERVICE

General Service
   Department

       Chairperson, Graduate Committee, August 2012 - Present.

       Undergraduate Statistics Advisor, 1999 - Present.

       Committee Member, Undergraduate Curriculum Committee, 2003 - 2005.

       Committee Member, Graduate Committee, 2002 - 2003.

       Committee Member, Undergraduate Committee, 2001 - 2002.

   Other

       Committee Chair, Computing Committee, 2005 - 2009.

   Professional/Public

       Officer, Secretary, American Statistical Association, Utah Chapter. 2002 - 2006.

       Member, Sunrise Elementary School Community Council. 2002 - 2006.

       Committee Member, Cache School District Building Task Force. 2003 - 2004.

       Program Organizer, Bioinformatics Working Group. 2002 - 2003.

       Contribuing Author of User Manuals. 1999 - 2003.

       Program Organizer, Statistics Brown Bag Seminar Series. 2000 - 2001.

   Utah State University

       Committee Member, Promotion and Tenure Central Committee, September 2014 - Present.

       Committee Member, Utah State University Faculty Senate, 2007 - Present.

       Committee Chair, Utah State University Faculty Senate Committee on Committees, 2008 - 2009.




Report Generated on July 29, 2017                                                         Page 28 of 28
